     Case 1:03-md-01570-GBD-SN Document 7711 Filed 03/01/22 Page 1 of 2




March 1, 2022                                                                      Sean P. Carter
                                                                                   Direct Phone 215-665-2105
                                                                                   Direct Fax   215-701-2105
                                                                                   scarter1@cozen.com




The Honorable Sarah Netburn
Thurgood Marshall United States Courthouse
40 Foley Square, Room 430
New York, NY 10007

       RE:      In Re: Terrorist Attacks on September 11, 2001, 03 MDL 1570 (GBD) (SN)

Dear Judge Netburn:

        In accordance with Your Honor’s instructions at the February 22, 2022 status conference,
we write on behalf of the Federal Insurance plaintiffs concerning the lifting of the stay of
judicial enforcement of the Havlish and Doe plaintiffs’ writs of execution.

        The Federal Insurance plaintiffs did not previously oppose the Havlish and Doe
plaintiffs’ motions to lift the stay,1 and do not oppose the lifting of the stay now.

                                                     Respectfully submitted,

                                                     COZEN O’CONNOR




                                                     SEAN P. CARTER



1
  The Court appears to have understood the Federal Insurance plaintiffs’ February 16, 2022
letter, ECF No. 7675, as joining in certain other plaintiffs’ oppositions to lifting the stay. See
Opinion and Order at ECF No. 7696 at p. 3 (referencing letters understood by the Court as
opposing the lifting of the stay). The Federal Insurance plaintiffs’ intent in their February 16,
2022 letter was simply to affirm the Federal Insurance plaintiffs’ position concerning their 2007
motion for assessment of damages as to the Taliban, as set forth in their earlier December 22,
2021 letter, see ECF No. 7498, in light of the United States’ Statement of Interest. The Federal
Insurance plaintiffs apologize for not being more clear in their February 16, 2022 letter that they
were not opposing the lifting of the stay.


                    One Liberty Place   1650 Market Street   Suite 2800   Philadelphia, PA 19103
                         215.665.2000      800.523.2900      215.665.2013 Fax   cozen.com
      Case 1:03-md-01570-GBD-SN Document 7711 Filed 03/01/22 Page 2 of 2

The Honorable Sarah Netburn
March 1, 2022
Page 2
______________________________________


cc:    All MDL Counsel of Record (via ECF)
